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Message

From: Jack Abramoff (i
Sent: 4/12/2018 8:41:32 PM

To: Marcus Andrade [ceo@amlbitcoin.com]
Subject: RE: FW: NEW YORK UPDATE

We do indeed. Quite a few things, but | am tired and going to bed, so let’s do itin the morning. What time your time
can we chat?

From: Marcus Andrade [mailto:ceo@amlbitcoin.com]
Sent: Thursday, April 12, 2018 11:40 PM

To: Jack Abramoff

Subject: Re: FW: NEW YORK UPDATE

Tam available now and in the morning.
We need to catch up on some things.
Thanks,

Marcus

On Thu, Apr 12, 2018 at 10:33 PM, Jack Abramoff <> wrote:

We need to discuss this situation. Can we chat in the moming? Are you OK? I am worried that you have been
out of touch. All OK?

From: John Bryan [mailto’
Sent: Thursday, April 12, 2018 8:10 PM

To: Jack Abramoff (<i!

Subject: NEW YORK UPDATE
Jack,

The AML team has done a great job cracking the crypto world, but it has NOT succeeded in cracking the code
of major institutional Wall Street. That’s why we are here, but I write this email to you to set things straight.

We have now talked to over 45 major players and still not one has ever heard of AML. This presents a
challenge in and of itself. And it is not as if they are not in the space; for example, Soros and the t-Zero guys
(as well as others) are very much in the space and when none of their constituents have ever heard of AML,
they are immediately dismissive and understandably skeptical that our value proposition is real.

It should be obvious to Marcus and the AML team that educating people from scratch is much more difficult
than coming in as a known group. Adding to the problem is that, with the exception of “Jack Abramoff,” the

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AML management team and the advisory board does not include anyone well known to them or what they
might call “Wall Street credible white shoe types”.

Furthermore, Terrance can’t even be listed in the materials and he is our PHD wunderkind. This is not to say
that White Shoe is good or bad, it is just a fact on how Wall Street works. They are a pack of wolves and they
hunt in groups.

Second, Wall Street is made up of skeptics and people that are paid to say “NO”. They invest in | deal out of
200 and they have dozens (sometimes hundreds) of experts paid to find the holes in any group’s plan. These
people are the best and brightest global investors with track records in the top quartile. That’s why Morgan
Stanley made me take on John Langdon; because he is tough as nails and has been on their side of the table for
25 years and they figured, if you can convince him, we’re all ears.

Admittedly, our process has not been ideal. In a perfect world, we would do months of diligence and only then
start making calls so that we have every answer to every question they could possibly ask. But, we don’t have
the time, as you have made clear over and again. So, Instead, we initially approached just a few of the most
trusted inner circle to find out what they were doing and see if they had heard of AML. When they expressed a
complete lack of knowledge, we started educating, as best we could. Because time is of the essence we

- expanded to several dozen, as noted.

Let’s talk about expectations. Here is what you should expect of us. That we execute professionally and
represent the effort effectively and with excellence and we credibly tell your story in such a way that the top
_ people in the industry want to meet you.

We can't go to the brightest and best players in the market and not fully understand the technology, IP, and
competitive landscape, etc. We cannot leverage our relationships if we haven't done our homework. For
example, if one of the players asked us if we knew Francois Laurent and Patrick Huge at Deloitte, the head of
technology and Regtech, we look foolish if we don’t know what they are doing and have not talked to them.

The AML opportunity is diminished if we are unprofessional. John Langdon and George Getz’s reputations are
at the top of the financial world and we must be conscious of how we execute and do so at the highest level of
professionalism. Their constituents will be looking for any weakness in our story, so we must be fully
prepared.

We expect that you will be supportive of our efforts and responsive to our requests and help us to get
information we need quickly so that we can pass it on and look professional. So, we have to wonder, why are
you guys holding us back on us? We don’t understand.

When we ask the simplest questions, and make requests for information, we get no response for over a week.
What is the possible justification for holding us back and placing barriers up that inhibit us?

Iam sorry, but this is not working. AML’s team must support our requests as soon as possible. We cannot
have these delays and pull this deal off — and the delays are coming from your side.

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Morgan Stanley works with the most valuable brands in the world and they expect us to look and feel like we
are part of that club.

The fact is that we have made great progress over the past two weeks, both in terms of reaching out to the MS

players, “socializing” the AML opportunity, and digging deep into the play. We only need a few more pieces
to finalize our effort and get scheduled.

We now understand in depth the powerful value proposition of AML and this is key. John Langdon himself
has turned from deeply skeptical (one is always skeptical when one thinks they have stumbled upon the
winning Powerball Ticket) to highly enthusiastic and the investor community can feel the difference and will
follow his lead — if we have the information we need.

Jack, if we can get you guys to respond to our requests, I have no doubt we can make AML Bitcoin the biggest
thing in the finance world — but we must have your team’s full attention. We have put aside multi-million
dollar projects and I believe in this so much that I have personally funded the folks on our side (I NEVER have
done that before for someone else’s deal!), as you guys also provided that funding, but we need to get this done
so we can move forward. No more delays, please!

Our target is to get the meetings in NYC calendared the week of April 23th and/or 30", but again, that will
only work with no more delays on your side.

John

A. John A. Bryan Jr.

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